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                                            UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE



IN RE:                                                             §                             CASE NO. 24-11442
CHICKEN SOUP FOR THE SOUL ENTERTAINMENT,                           §
INC.
DEBTOR(S),                                                          §                            CHAPTER 7
                                                         AMENDED
                                         NOTICE OF APPEARANCE AND REQUEST
                                        FOR SERVICE OF NOTICES AND PLEADINGS

  PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of:
  KATY ISD                           HARRIS CO ESD # 60                       CITY OF SEABROOK
  HARRIS CO ESD # 07                 HARRIS CO ESD # 28                       HARRIS CO ESD # 80
  DEER PARK ISD                      CITY OF JERSEY VILLAGE                   CITY OF SOUTH HOUSTON
  HARRIS CO ID # 03                  HARRIS CO ESD # 14                       HARRIS CO ESD # 46
  HARRIS CO ESD # 12                 HARRIS CO ESD # 50                       HARRIS CO ESD # 08
  HARRIS CO ESD # 11                 CITY OF HOUSTON                          HOUSTON ISD
  FORT BEND COUNTY                   HARRIS CO ESD # 21                       HARRIS CO ESD # 17
  HOUSTON COMM COLL SYSTEM HARRIS CO ESD # 05                                 LONE STAR COLLEGE SYSTEM
  HARRIS CO ESD # 48                 HARRIS CO ESD # 09                       HARRIS CO ID # 01
  CITY OF WEBSTER                    CITY OF HUMBLE                           CITY OF NASSAU BAY
  HARRIS CO ESD # 01                 HARRIS CO ESD # 02                       HARRIS CO ESD # 03
  HARRIS CO ESD # 04                 HARRIS CO ESD # 13                       HARRIS CO ESD # 16
  HARRIS CO ESD # 20                 HARRIS CO ESD # 10                       HARRIS CO ESD # 24
  HARRIS CO ESD # 25                 HARRIS CO ESD # 29                       HARRIS CO ESD # 47
  CITY OF PASADENA
secured creditor(s) in the above-referenced proceedings. The undersigned hereby requests notice and copies of all motions notices,
reports, briefs, applications, adversary proceedings, proposed orders, confirmed copies of orders, any proposed disclosure statement
or plan of reorganization that has been filed with the court, any other documents or instruments filed in the above-referenced
proceedings and any other matter in which notice is required pursuant to 11 U.S.C. Sec. 1109(b) and Bankruptcy Rules 2002(a) and
(b), 3017(a), and 9013 of the Federal Rules of Bankruptcy Procedure.
   Copies should be mailed to the secured creditor(s) in care of the undersigned at the address set forth below.
                                                         Certificate of Service
 I do hereby certify that on 16th day of
                                         July                ,2024, a copy of the above and foregoing has been this date served
 electronically or mailed to the parties listed below:
 JOSEPH J. MCMAHON, JR.
 ASSISTANT UNITED STATES                                                LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
 TRUSTEE                                                                PO Box 3064
 844 KING STREET; SUITE 2207                                            HOUSTON, TX 77253-3064
 WILMINGTON, DE 19801                                                   Telephone: (713) 844-3400
 US TRUSTEE (DE)                                                        Facsimile: (713) 844-3503
 J. CALEB BOGGS FEDERAL                                                 Email:      houston_bankruptcy@lgbs.com
 BUILDING                                                               By: /s/ Tara L. Grundemeier
 844 KING STREET, SUITE 2207
 LOCKBOX 35                                                                 Tara L. Grundemeier
 WILMINGTON, DE 19801                                                        SBN: 24036691 TX
